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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                         Page 1 of        3       Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                     FILED
                                                                                                                    Apr 29, 2021
                                                                                                                CLERK, U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:21-mj-00035-SAB
CESAR RODRIGUEZ,                                                          )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place

      U.S. MAGISTRATE JUDGE Barbara A. McAuliffe in Courtroom 8 (unless another courtroom is designated)

      on                                                      May 6, 2021 at 2:00 PM
                                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.




(Copies to:       Defendant (through Pretrial)               PRETRIAL SERVICES                 US ATTORNEY         US MARSHAL)
                Case
 AO 199B (Rev. 09/08-   1:21-cr-00115-NODJ-BAM
                      EDCA [Fresno]) Additional Conditions of Release Document
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 RODRIGUEZ, Cesar
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                             ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

 ;     (6)       The defendant is placed in the custody of:

                   Name of person or organization             Alexis Ramirez Rodriguez

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED: ________________________________
                                     CUSTODIAN
 ;     (7)       The defendant must:
       ;         (a)   report to and comply with the rules and regulations of the Pretrial Services Agency;
       ;         (b)   report via telephone to the Pretrial Services Agency on the first working day following your release from custody;
       ;         (c)   reside at a location approved by the PSO, and not move or absent yourself from this residence for more than 24
                       hrs. without prior approval of PSO; travel restricted to Eastern District of California unless otherwise approved
                       in advance by PSO;
       ;         (d)   report any contact with law enforcement to your PSO within 24 hours;
       ;         (e)   cooperate in the collection of a DNA sample;
       ;         (f)   not associate or have any contact with co-defendants unless in the presence of counsel or otherwise approved in
                       advance by the PSO;
       ;         (g)   not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                       dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                       currently under your control;
       ;         (h)   submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of
                       the costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
       ;         (i)   refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                       prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                       prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used; and,
       ;         (j)   not apply for or obtain a passport or any other traveling documents during the pendency of this case.
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            CESAR RODRIGUEZ




X



    4/29/2021

                               BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
